                                       IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                                                       DIVISION OF ST. THOMAS & ST. JOHN
-------------------------------------------------------------------------------------------------------------x
UNITED CORPORATION,                                                                                          : Case No. 3:21-cv-043
                               Plaintiff,                                                                    :
                                                                                                             :
                v.                                                                                           :
                                                                                                             :
THE UNITED STATES VIRGIN ISLANDS,                                                                            :
                               Defendant.                                                                    :
-------------------------------------------------------------------------------------------------------------x

                                                                  COMPLAINT

            Plaintiff, UNITED CORPORATION, by and through its undersigned counsel, sues THE

UNITED STATES VIRGIN ISLANDS (“USVI”) and alleges as follows:

                                      NATURE OF THE CASE & INTRODUCTION

1.          In Reefco Services this Court held that the Virgin Islands excise tax statute – 33 V.I.C. § 42

violated the Commerce Clause, that any excise tax assessed under Section 42 was improperly

assessed, and that Reefco was entitled to a refund of those taxes. Reefco Servs., Inc. v. Gov’t of Virgin

Islands, 2018 WL 4690366, at *7 (D.V.I. Sept. 28, 2018). The Third Circuit affirmed this Court’s

central holding (“that the Section 42--as interpreted and enforced by the GVI--violates the

Commerce Clause”). See Reefco Servs., Inc. v. Gov’t of Virgin Islands,830 F. App’x 81, 83 (3d Cir.

2020) (“we will affirm the District Court’s award of declaratory, injunctive, and monetary relief”).

2.          Plaintiff now sues the Defendant for a refund of the excises that it paid to the Defendant

during the years where the Defendant was interpreting and enforcing Section 42 in an

unconstitutional manner.

                                           JURISDICTION, VENUE, & STANDING

3.          This Court has jurisdiction over this action pursuant to 48 U.S.C. § 1612(a), and 28

U.S.C. § 1331.


                                                                              1
4.      Venue is proper under 28 U.S.C. § 1391 in this Court as the Defendant resides in this

division.

5.      Plaintiff has Article III standing as it was deprived of its money by virtue of paying an

unconstitutional tax.

                                             THE PARTIES

6.      The USVI was created through the enactment of the Revised Organic Act (48 U.S.C. §

1541 et. seq.) and is otherwise sui juris.

7.      Plaintiff is a juridical entity, formed under the laws of the USVI, and is otherwise sui juris.

                                             BACKGROUND

USVI Excise Tax

8.      In 1959, the Legislature of the Virgin Islands imposed a territorial excise tax, codified at 33

V.I.C. § 42, on goods imported into the Virgin Islands. The law did not impose an excise tax on

goods produced in the Virgin Islands.

9.      On August 24, 1984, this Court held, inter alia, that the territorial excise tax violated the

Commerce Clause of the United States Constitution because it discriminated against interstate

and foreign commerce. JDS Realty Corp. v. Government of the Virgin Islands, 593 F. Supp. 199

(D.V.I. 1984). The Third Circuit affirmed. See JDS Realty Corp. v. Government of the Virgin Islands,

824 F.2d 256 (3d Cir. 1987) (vacated for mootness in 1988).

10.     While the appeal in JDS Realty was pending, the Legislature of the Virgin Islands, through

Act 4994, amended Section 42 by expanding its scope and imposing the excise tax on goods

manufactured in the Virgin Islands in addition to imported goods. Act 4994 also amended




                                                   2
Section 42a by requiring the Defendant to promulgate rules for the valuation of, and payment of

the excise tax on, goods manufactured in the Virgin Islands.

11.    Notwithstanding the amendments in Act 4994, the Defendant never collected the excise

tax imposed on goods produced locally nor did it purport to promulgate the regulations required

by Section 42a until February 2019.

The Defendant’s Unconstitutional Actions

12.    Glenford Hodge was (and upon information and believe still is) Supervisor of Excise Tax

for the Virgin Islands Bureau of Internal Revenue.

13.    Glenford Hodge testified in his official capacity as Supervisor of Excise Tax for the Virgin

Islands Bureau of Internal Revenue as follows:

       Q. How do you process merchandise that’s not imported?
       [Hodge]. If it’s not imported, then there’s no reason for us to process it.
       Q. You don’t charge a tax on products that aren't imported into the --
       [Hodge]. We have no basis to charge a tax on something that’s not imported into the
       territory.
       Q. Okay. So if somebody were to make--Well, beer is an item that has an excise tax, correct?
       [Hodge]. Yes, sir.
       Q. So a local brewer doesn’t pay an excise tax to your office?
       [Hodge]. Excise tax is collected on items imported into the territory.
       Q. Okay. So the same item, if it were made here and not brought in, that has nothing to
       do with your office?
       [Hodge]. If it wasn't imported, then you would have not generated a bill f laden. So we
       have – we don't. We don’t.

Reefco Servs., Inc. v. Gov’t of Virgin Islands, case no. 3:14-cv-110 (DVI) at ECF No. 75, Exh. 1 at

23:18-24:14.

14.    At all relevant times hereto (i.e. before November 15, 2018), the “Defendant continue[d] to

implement the pre-1984 statute that the Third Circuit held was invalid under the Commerce

Clause.” Reefco, 2018 WL 4690366, at *6.




                                                 3
15.     On September 28, 2018, this Court of the Virgin Islands in Reefco Services, supra, held that

the Defendant was still violating Commerce Clause principles because it continued to impose the

territorial excise tax on imports while at the same time failing to promulgate regulations and

collect the tax on goods produced locally.

16.     This Court also ordered the Defendant to pay Reefco a refund of certain excise taxes

Reefco had paid on its imports.

17.     Notwithstanding the Court’s judgment, the USVI persisted in collecting the excise tax on

imported goods only.

18.     Consequently, on November 15, 2018, the District Court enjoined the Defendant from

collecting the excise tax unless and until the Court was satisfied that the Defendant would do so in

a manner that does not violate Commerce Clause principles.           Reefco Servs., Inc. v. Gov't of Virgin

Islands, 2018 WL 6173878 (D.V.I. Nov. 26, 2018).

The Plaintiff

19.     Plaintiff operates a grocery store on the Islands of St. Croix.

20.     In the course of the Plaintiff’s operations, it regularly imports items from outside of the

USVI.

21.     For the time period at issue (2016 – 2018) the Defendant imposed the Section 42 excise

tax on the Plaintiff’s imported goods in violation of the Commerce Clause.

22.     The Plaintiff paid the excise tax to the Defendant as evidenced by Form 721VI (“Excise

and Contained Tax Return”).

23.     During the time period at issue the Defendant collected over half a million dollars from

the Plaintiff.




                                                   4
24.    The Plaintiff filed its claims for refund (Form 843 EX-V.I.) for the March 2016 time period

on April 25, 2019. A copy of the March 2016 claims for refund are attached hereto as Composite

Exhibit 1.

25.    The Plaintiff filed its claims for refund (Form 843 EX-V.I.) for the April 2016 time period

on March 23, 2019. A copy of the April 2016 claims for refund are attached hereto as Composite

Exhibit 2.

26.    The Plaintiff filed its claims for refund (Form 843 EX-V.I.) for the May 2016 time period

on June 10, 2019. A copy of the May 2016 claims for refund are attached hereto as Composite

Exhibit 3.

27.    The Plaintiff filed its claims for refund (Form 843 EX-V.I.) for the June 2016 time period

on June 10, 2019. A copy of the June 2016 claims for refund are attached hereto as Composite

Exhibit 4.

28.    The Plaintiff filed its claims for refund (Form 843 EX-V.I.) for the July 2016 time period

on June 10, 2019. A copy of the July 2016 claims for refund are attached hereto as Composite

Exhibit 5.

29.    The Plaintiff filed its claims for refund (Form 843 EX-V.I.) for the August 2016 time

period on June 10, 2019. A copy of the August 2016 claims for refund are attached hereto as

Composite Exhibit 6.

30.    The Plaintiff filed its claims for refund (Form 843 EX-V.I.) for the September 2016 time

period on June 10, 2019. A copy of the September 2016 claims for refund are attached hereto as

Composite Exhibit 7.

31.    The Plaintiff filed its claims for refund (Form 843 EX-V.I.) for the October 2016 time




                                                5
period on June 10, 2019. A copy of the October 2016 claims for refund are attached hereto as

Composite Exhibit 8.

32.    The Plaintiff filed its claims for refund (Form 843 EX-V.I.) for the November 2016 time

period on June 10, 2019. A copy of the October 2016 claims for refund are attached hereto as

Composite Exhibit 9.

33.    The Plaintiff filed its claims for refund (Form 843 EX-V.I.) for the December 2016 time

period on June 10, 2019. A copy of the October 2016 claims for refund are attached hereto as

Composite Exhibit 10.

34.    The Plaintiff filed its claims for refund (Form 843 EX-V.I.) for the January 2017 time

period on February 24, 2020. A copy of the January 2017 claims for refund are attached hereto as

Composite Exhibit 11.

35.    The Plaintiff filed its claims for refund (Form 843 EX-V.I.) for the Feb. 2017 time period

on February 24, 2020.     A copy of the Feb. 2017 claims for refund are attached hereto as

Composite Exhibit 12.

36.    The Plaintiff filed its claims for refund (Form 843 EX-V.I.) for the March 2017 time period

on February 24, 2020. A copy of the March 2017 claims for refund are attached hereto as

Composite Exhibit 13.

37.    The Plaintiff filed its claims for refund (Form 843 EX-V.I.) for the April 2017 time period

on February 24, 2020. A copy of the April 2017 claims for refund are attached hereto as

Composite Exhibit 14.

38.    The Plaintiff filed its claims for refund (Form 843 EX-V.I.) for the May 2017 time period

on February 24, 2020.     A copy of the May 2017 claims for refund are attached hereto as




                                                6
Composite Exhibit 15.

39.    The Plaintiff filed its claims for refund (Form 843 EX-V.I.) for the June 2017 time period

on February 24, 2020.     A copy of the June 2017 claims for refund are attached hereto as

Composite Exhibit 16.

40.    The Plaintiff filed its claims for refund (Form 843 EX-V.I.) for the July 2017 time period

on February 24, 2020. A copy of the July 2017 claims for refund are attached hereto as Composite

Exhibit 17.

41.    The Plaintiff filed its claims for refund (Form 843 EX-V.I.) for the August 2017 time

period on February 24, 2020. A copy of the August 2017 claims for refund are attached hereto as

Composite Exhibit 18.

42.    The Plaintiff filed its claims for refund (Form 843 EX-V.I.) for the Sept. 2017 time period

on February 24, 2020. A copy of the Sept. 2017 claims for refund are attached hereto as

Composite Exhibit 19.

43.    The Plaintiff filed its claims for refund (Form 843 EX-V.I.) for the Oct. 2017 time period

on February 24, 2020.     A copy of the Oct. 2017 claims for refund are attached hereto as

Composite Exhibit 20.

44.    The Plaintiff filed its claims for refund (Form 843 EX-V.I.) for the Nov. 2017 time period

on February 24, 2020. A copy of the Nov. 2017 claims for refund are attached hereto as

Composite Exhibit 21.

45.    The Plaintiff filed its claims for refund (Form 843 EX-V.I.) for the Dec. 2017 time period

on February 24, 2020.     A copy of the Dec. 2017 claims for refund are attached hereto as

Composite Exhibit 22.




                                                7
46.    The Plaintiff filed its claims for refund (Form 843 EX-V.I.) for the Jan. 2018 time period

on November 5, 2011.      A copy of the Jan. 2018 claims for refund are attached hereto as

Composite Exhibit 23.

47.    The Plaintiff filed its claims for refund (Form 843 EX-V.I.) for the Feb. 2018 time period

on November 5, 2020. A copy of the Feb. 2018 claim for refund are attached hereto as Exhibit

24.

48.    The Plaintiff filed its claims for refund (Form 843 EX-V.I.) for the May 2018 time period

on November 5, 2020. A copy of the May 2018 claim for refund are attached hereto as Composite

Exhibit 25.

49.    The Plaintiff filed its claims for refund (Form 843 EX-V.I.) for the June 2018 time period

on November 5, 2020. A copy of the June 2018 claims for refund are attached hereto as

Composite Exhibit 26.

50.    The Plaintiff filed its claims for refund (Form 843 EX-V.I.) for the July 2018 time period

on Feb. 24, 2020. A copy of the July 2018 claims for refund are attached hereto as Composite

Exhibit 27.

51.    The Plaintiff filed its claims for refund (Form 843 EX-V.I.) for the August 2018 time

period on Feb. 24, 2020. A copy of the August 2018 claims for refund are attached hereto as

Composite Exhibit 28

52.    The Plaintiff filed its claims for refund (Form 843 EX-V.I.) for the Sept. 2018 time period

on Feb. 24, 2020. A copy of the Sept. 2018 claims for refund are attached hereto as Composite

Exhibit 29.

53.    The Plaintiff filed its claims for refund (Form 843 EX-V.I.) for the Oct. 2018 time period




                                                8
  on Feb. 24, 2020. A copy of the Oct. 2018 claims for refund are attached hereto as Composite

  Exhibit 30.

  54.      The Plaintiff filed its claims for refund (Form 843 EX-V.I.) for the Nov. 2018 time period

  on Feb. 24, 2020. A copy of the Nov. 2018 claims for refund are attached hereto as Composite

  Exhibit 31.

  55.      The Plaintiff filed its claims for refund (Form 843 EX-V.I.) for the Dec. 2018 time period

  on Feb. 24, 2020. A copy of the Dec. 2018 claims for refund are attached hereto as Composite

  Exhibit 32.

  56.      Defendant has not disallowed or disputed any of the claims for refund.

  57.      No legal reason exists why the Defendant is not liable to the Plaintiff for its failure to

  refund the Plaintiff’s overpayment of excise taxes as stated in the respective claims for refund.

                                     CLAIMS FOR RELIEF
                           COUNTS 1-864 (REFUND OF EXCISE TAXES)

  58.      Paragraphs 1 through 57 are realleged and incorporated herein.

  59.      The following spreadsheet details (A) the respective count, (B) the form, (C) the Plaintiff’s

  internal reference number, (D) the refund claim amount, (E) the date filed, and (F) the exhibit

  number.


Count     Form         Internal Ref #   Refund Claim Amount           Date Filed         Exhibit No.
        1 843 EX-VI    16-03-01          $   1,182.59                2019-04-25 Composite Ex. 1
        2 843 EX-VI    16-03-02          $     952.57                2019-04-25
        3 843 EX-VI    16-03-03          $     132.30                2019-04-25
        4 843 EX-VI    16-03-04          $      77.51                2019-04-25
        5 843 EX-VI    16-03-05          $     102.96                2019-04-25
        6 843 EX-VI    16-03-06          $      34.48                2019-04-25
        7 843 EX-VI    16-03-07          $     337.90                2019-04-25
        8 843 EX-VI    16-03-08          $     124.48                2019-04-25


                                                    9
9 843 EX-VI    16-03-09   $    675.61    2019-04-25
10 843 EX-VI   16-03-11   $       8.80   2019-04-25
11 843 EX-VI   16-03-12   $    507.68    2019-04-25
12 843 EX-VI   16-03-13   $   1,493.36   2019-04-25
13 843 EX-VI   16-03-14   $    637.02    2019-04-25
14 843 EX-VI   16-03-16   $       8.80   2019-04-25
15 843 EX-VI   16-03-17   $    609.75    2019-04-25
16 843 EX-VI   16-03-18   $   1,732.50   2019-04-25
17 843 EX-VI   16-03-19   $    435.46    2019-04-25
18 843 EX-VI   16-03-20   $    151.79    2019-04-25
19 843 EX-VI   16-03-21   $   2,501.47   2019-04-25
20 843 EX-VI   16-03-22   $   1,431.01   2019-04-25
21 843 EX-VI   16-03-23   $   1,125.15   2019-04-25
22 843 EX-VI   16-03-24   $    709.42    2019-04-25
23 843 EX-VI   16-03-25   $    243.15    2019-04-25
24 843 EX-VI   16-03-26   $    337.20    2019-04-25
25 843 EX-VI   16-03-27   $     80.98    2019-04-25
26 843 EX-VI   16-03-28   $    365.61    2019-04-25
27 843 EX-VI   16-03-29   $    167.67    2019-04-25
28 843 EX-VI   16-03-31   $   1,075.87   2019-04-25
29 843 EX-VI   16-03-32   $   2,589.72   2019-04-25
30 843 EX-VI   16-03-33   $   2,604.00   2019-04-25
31 843 EX-VI   16-04-01   $    100.77    2019-05-23 Composite Ex. 2
32 843 EX-VI   16-04-02   $    704.84    2019-05-23
33 843 EX-VI   16-04-03   $     12.59    2019-05-23
34 843 EX-VI   16-04-04   $     28.00    2019-05-23
35 843 EX-VI   16-04-05   $    411.13    2019-05-23
36 843 EX-VI   16-04-06   $       5.06   2019-05-23
37 843 EX-VI   16-04-07   $    608.21    2019-05-23
38 843 EX-VI   16-04-08   $    464.41    2019-05-23
39 843 EX-VI   16-04-09   $    426.58    2019-05-23
40 843 EX-VI   16-04-10   $    407.05    2019-05-23
41 843 EX-VI   16-04-11   $    170.66    2019-05-23
42 843 EX-VI   16-04-12   $    709.42    2019-05-23
43 843 EX-VI   16-04-13   $   1,010.44   2019-05-23
44 843 EX-VI   16-04-14   $       8.80   2019-05-23
45 843 EX-VI   16-04-15   $    322.60    2019-05-23
46 843 EX-VI   16-04-16   $     14.13    2019-05-23
47 843 EX-VI   16-04-17   $    107.93    2019-05-23


                                    10
48 843 EX-VI   16-04-18   $     61.71    2019-05-23
49 843 EX-VI   16-04-19   $    121.25    2019-05-23
50 843 EX-VI   16-04-20   $    364.06    2019-05-23
51 843 EX-VI   16-04-21   $    365.58    2019-05-23
52 843 EX-VI   16-04-22   $       5.52   2019-05-23
53 843 EX-VI   16-04-23   $    635.40    2019-05-23
54 843 EX-VI   16-04-24   $    130.45    2019-05-23
55 843 EX-VI   16-04-25   $    491.43    2019-05-23
56 843 EX-VI   16-05-01   $    620.55    2019-06-10 Composite Ex. 3
57 843 EX-VI   16-05-02   $   1,133.52   2019-06-10
58 843 EX-VI   16-05-03   $    139.62    2019-06-10
59 843 EX-VI   16-05-04   $     22.17    2019-06-10
60 843 EX-VI   16-05-05   $       3.63   2019-06-10
61 843 EX-VI   16-05-06   $    308.10    2019-06-10
62 843 EX-VI   16-05-07   $       3.28   2019-06-10
63 843 EX-VI   16-05-08   $    335.70    2019-06-10
64 843 EX-VI   16-05-09   $    187.11    2019-06-10
65 843 EX-VI   16-05-10   $     96.75    2019-06-10
66 843 EX-VI   16-05-11   $   1,329.62   2019-06-10
67 843 EX-VI   16-05-12   $    179.37    2019-06-10
68 843 EX-VI   16-05-13   $   1,366.13   2019-06-10
69 843 EX-VI   16-05-14   $    382.42    2019-06-10
70 843 EX-VI   16-05-15   $     31.02    2019-06-10
71 843 EX-VI   16-05-16   $       2.07   2019-06-10
72 843 EX-VI   16-05-17   $    281.25    2019-06-10
73 843 EX-VI   16-05-18   $    415.13    2019-06-10
74 843 EX-VI   16-05-19   $       3.28   2019-06-10
75 843 EX-VI   16-05-20   $    832.13    2019-06-10
76 843 EX-VI   16-05-21   $   1,331.57   2019-06-10
77 843 EX-VI   16-05-22   $    439.38    2019-06-10
78 843 EX-VI   16-05-23   $   1,879.98   2019-06-10
79 843 EX-VI   16-05-24   $   1,239.03   2019-06-10
80 843 EX-VI   16-05-25   $    435.28    2019-06-10
81 843 EX-VI   16-05-26   $    583.88    2019-06-10
82 843 EX-VI   16-06-01   $     43.03    2019-06-10 Composite Ex. 4
83 843 EX-VI   16-06-02   $    311.06    2019-06-10
84 843 EX-VI   16-06-03   $     38.38    2019-06-10
85 843 EX-VI   16-06-04   $    836.71    2019-06-10
86 843 EX-VI   16-06-05   $    446.09    2019-06-10


                                    11
87 843 EX-VI    16-06-06   $     38.38    2019-06-10
88 843 EX-VI    16-06-07   $    836.71    2019-06-10
89 843 EX-VI    16-06-08   $   1,065.35   2019-06-10
90 843 EX-VI    16-06-09   $    584.82    2019-06-10
91 843 EX-VI    16-06-10   $   1,272.01   2019-06-10
92 843 EX-VI    16-06-12   $    159.65    2019-06-10
93 843 EX-VI    16-06-13   $    610.63    2019-06-10
94 843 EX-VI    16-06-14   $    555.30    2019-06-10
95 843 EX-VI    16-06-19   $    419.53    2019-06-10
96 843 EX-VI    16-06-21   $    949.90    2019-06-10
97 843 EX-VI    16-06-23   $   4,374.30   2019-06-10
98 843 EX-VI    16-06-24   $    395.38    2019-06-10
99 843 EX-VI    16-06-25   $    525.42    2019-06-10
100 843 EX-VI   16-06-26   $     75.16    2019-06-10
101 843 EX-VI   16-06-27   $   1,005.92   2019-06-10
102 843 EX-VI   16-06-28   $    795.18    2019-06-10
103 843 EX-VI   16-06-29   $   1,035.06   2019-06-10
104 843 EX-VI   16-06-30   $    915.15    2019-06-10
105 843 EX-VI   16-06-31   $    190.97    2019-06-10
106 843 EX-VI   16-06-32   $    117.49    2019-06-10
107 843 EX-VI   16-06-33   $    672.74    2019-06-10
108 843 EX-VI   16-06-34   $    817.94    2019-06-10
109 843 EX-VI   16-07-01   $    119.02    2019-06-10 Composite Ex. 5
110 843 EX-VI   16-07-02   $       5.27   2019-06-10
111 843 EX-VI   16-07-03   $    101.13    2019-06-10
112 843 EX-VI   16-07-04   $    572.85    2019-06-10
113 843 EX-VI   16-07-05   $    202.10    2019-06-10
114 843 EX-VI   16-07-06   $    963.33    2019-06-10
115 843 EX-VI   16-07-07   $    128.02    2019-06-10
116 843 EX-VI   16-07-08   $   1,049.42   2019-06-10
117 843 EX-VI   16-07-09   $    415.75    2019-06-10
118 843 EX-VI   16-07-10   $    302.74    2019-06-10
119 843 EX-VI   16-07-11   $    950.01    2019-06-10
120 843 EX-VI   16-07-12   $   1,105.52   2019-06-10
121 843 EX-VI   16-07-13   $    140.06    2019-06-10
122 843 EX-VI   16-07-14   $       3.41   2019-06-10
123 843 EX-VI   16-07-15   $   1,302.00   2019-06-10
124 843 EX-VI   16-07-16   $   1,380.12   2019-06-10
125 843 EX-VI   16-07-17   $    485.92    2019-06-10


                                     12
126 843 EX-VI   16-07-18   $    493.39    2019-06-10
127 843 EX-VI   16-07-19   $    131.93    2019-06-10
128 843 EX-VI   16-07-20   $   2,177.01   2019-06-10
129 843 EX-VI   16-07-21   $   1,373.45   2019-06-10
130 843 EX-VI   16-08-01   $    884.55    2019-06-10 Composite Ex. 6
131 843 EX-VI   16-08-02   $     91.34    2019-06-10
132 843 EX-VI   16-08-03   $    238.04    2019-06-10
133 843 EX-VI   16-08-04   $     55.48    2019-06-10
134 843 EX-VI   16-08-05   $       4.40   2019-06-10
135 843 EX-VI   16-08-06   $   2,527.41   2019-06-10
136 843 EX-VI   16-08-07   $    440.30    2019-06-10
137 843 EX-VI   16-08-08   $    839.16    2019-06-10
138 843 EX-VI   16-08-09   $    883.70    2019-06-10
139 843 EX-VI   16-08-10   $    754.10    2019-06-10
140 843 EX-VI   16-08-11   $    265.27    2019-06-10
141 843 EX-VI   16-08-12   $    133.02    2019-06-10
142 843 EX-VI   16-08-13   $    305.77    2019-06-10
143 843 EX-VI   16-08-14   $     16.77    2019-06-10
144 843 EX-VI   16-08-15   $     34.51    2019-06-10
145 843 EX-VI   16-08-16   $     79.76    2019-06-10
146 843 EX-VI   16-08-17   $    259.76    2019-06-10
147 843 EX-VI   16-08-18   $    124.96    2019-06-10
148 843 EX-VI   16-08-19   $     27.08    2019-06-10
149 843 EX-VI   16-08-20   $    110.51    2019-06-10
150 843 EX-VI   16-08-21   $    174.03    2019-06-10
151 843 EX-VI   16-08-22   $    786.59    2019-06-10
152 843 EX-VI   16-08-23   $   1,198.99   2019-06-10
153 843 EX-VI   16-08-24   $     21.00    2019-06-10
154 843 EX-VI   16-08-25   $   5,479.57   2019-06-10
155 843 EX-VI   16-08-26   $    472.20    2019-06-10
156 843 EX-VI   16-08-27   $    119.20    2019-06-10
157 843 EX-VI   16-08-28   $       0.83   2019-06-10
158 843 EX-VI   16-08-29   $    127.54    2019-06-10
159 843 EX-VI   16-08-30   $    446.16    2019-06-10
160 843 EX-VI   16-08-31   $    383.13    2019-06-10
161 843 EX-VI   16-08-32   $   1,290.30   2019-06-10
162 843 EX-VI   16-08-33   $     81.65    2019-06-10
163 843 EX-VI   16-09-01   $     41.78    2019-06-10 Composite Ex. 7
164 843 EX-VI   16-09-02   $    414.23    2019-06-10


                                     13
165 843 EX-VI   16-09-03   $    776.03    2019-06-10
166 843 EX-VI   16-09-04   $    272.82    2019-06-10
167 843 EX-VI   16-09-05   $    149.06    2019-06-10
168 843 EX-VI   16-09-06   $   1,011.36   2019-06-10
169 843 EX-VI   16-09-07   $    116.95    2019-06-10
170 843 EX-VI   16-09-08   $    967.67    2019-06-10
171 843 EX-VI   16-09-09   $    123.63    2019-06-10
172 843 EX-VI   16-09-10   $    965.73    2019-06-10
173 843 EX-VI   16-09-11   $   1,157.72   2019-06-10
174 843 EX-VI   16-09-12   $     26.37    2019-06-10
175 843 EX-VI   16-09-13   $     90.30    2019-06-10
176 843 EX-VI   16-09-14   $    236.12    2019-06-10
177 843 EX-VI   16-09-15   $    554.86    2019-06-10
178 843 EX-VI   16-09-16   $    368.90    2019-06-10
179 843 EX-VI   16-09-17   $    359.43    2019-06-10
180 843 EX-VI   16-09-18   $    114.34    2019-06-10
181 843 EX-VI   16-09-19   $    885.62    2019-06-10
182 843 EX-VI   16-09-20   $   1,275.62   2019-06-10
183 843 EX-VI   16-09-21   $    216.94    2019-06-10
184 843 EX-VI   16-09-22   $    300.49    2019-06-10
185 843 EX-VI   16-09-23   $       2.14   2019-06-10
186 843 EX-VI   16-09-24   $    239.86    2019-06-10
187 843 EX-VI   16-09-25   $    361.66    2019-06-10
188 843 EX-VI   16-09-26   $   1,532.10   2019-06-10
189 843 EX-VI   16-09-27   $     45.33    2019-06-10
190 843 EX-VI   16-09-28   $    974.74    2019-06-10
191 843 EX-VI   16-09-29   $   1,143.49   2019-06-10
192 843 EX-VI   16-09-30   $   1,605.07   2019-06-10
193 843 EX-VI   16-09-31   $    614.77    2019-06-10
194 843 EX-VI   16-09-32   $     30.20    2019-06-10
195 843 EX-VI   16-09-33   $    315.13    2019-06-10
196 843 EX-VI   16-09-34   $     75.09    2019-06-10
197 843 EX-VI   16-09-35   $    581.42    2019-06-10
198 843 EX-VI   16-10-01   $    611.12    2019-06-10 Composite Ex. 8
199 843 EX-VI   16-10-02   $     61.04    2019-06-10
200 843 EX-VI   16-10-03   $   1,061.05   2019-06-10
201 843 EX-VI   16-10-04   $    204.44    2019-06-10
202 843 EX-VI   16-10-05   $     25.73    2019-06-10
203 843 EX-VI   16-10-06   $    604.94    2019-06-10


                                     14
204 843 EX-VI   16-10-07   $    630.27    2019-06-10
205 843 EX-VI   16-10-08   $    680.40    2019-06-10
206 843 EX-VI   16-10-09   $   1,302.00   2019-06-10
207 843 EX-VI   16-10-10   $   1,155.81   2019-06-10
208 843 EX-VI   16-10-11   $   1,145.00   2019-06-10
209 843 EX-VI   16-10-12   $       2.14   2019-06-10
210 843 EX-VI   16-10-13   $    774.84    2019-06-10
211 843 EX-VI   16-10-14   $    231.30    2019-06-10
212 843 EX-VI   16-10-15   $    136.44    2019-06-10
213 843 EX-VI   16-10-16   $     38.36    2019-06-10
214 843 EX-VI   16-10-17   $    109.97    2019-06-10
215 843 EX-VI   16-10-18   $     79.74    2019-06-10
216 843 EX-VI   16-10-19   $    713.74    2019-06-10
217 843 EX-VI   16-10-20   $    428.49    2019-06-10
218 843 EX-VI   16-10-21   $    834.22    2019-06-10
219 843 EX-VI   16-10-22   $     51.08    2019-06-10
220 843 EX-VI   16-10-23   $   2,582.80   2019-06-10
221 843 EX-VI   16-10-24   $    156.32    2019-06-10
222 843 EX-VI   16-10-25   $     18.94    2019-06-10
223 843 EX-VI   16-10-26   $     26.88    2019-06-10
224 843 EX-VI   16-10-27   $    315.73    2019-06-10
225 843 EX-VI   16-10-28   $    396.73    2019-06-10
226 843 EX-VI   16-10-29   $   1,057.37   2019-06-10
227 843 EX-VI   16-10-30   $   1,057.98   2019-06-10
228 843 EX-VI   16-10-31   $   1,494.79   2019-06-10
229 843 EX-VI   16-10-32   $     16.34    2019-06-10
230 843 EX-VI   16-10-33   $     26.34    2019-06-10
231 843 EX-VI   16-10-34   $     17.49    2019-06-10
232 843 EX-VI   16-10-35   $       6.18   2019-06-10
233 843 EX-VI   16-10-37   $    329.13    2019-06-10
234 843 EX-VI   16-10-38   $   1,145.80   2019-06-10
235 843 EX-VI   16-10-39   $   1,081.26   2019-06-10
236 843 EX-VI   16-10-41   $    374.64    2019-06-10
237 843 EX-VI   16-10-42   $     94.23    2019-06-10
238 843 EX-VI   16-10-43   $    189.33    2019-06-10
239 843 EX-VI   16-11-01   $    156.76    2019-06-10 Composite Ex. 9
240 844 EX-VI   16-11-02   $   1,045.57   2019-06-10
241 845 EX-VI   16-11-03   $    151.51    2019-06-10
242 846 EX-VI   16-11-04   $     73.45    2019-06-10


                                     15
243 847 EX-VI   16-11-05   $    844.19    2019-06-10
244 848 EX-VI   16-11-06   $   1,051.00   2019-06-10
245 849 EX-VI   16-11-07   $   1,671.04   2019-06-10
246 850 EX-VI   16-11-08   $    271.31    2019-06-10
247 851 EX-VI   16-11-09   $     47.84    2019-06-10
248 852 EX-VI   16-11-10   $     42.20    2019-06-10
249 853 EX-VI   16-11-11   $    732.72    2019-06-10
250 854 EX-VI   16-11-12   $   1,280.39   2019-06-10
251 855 EX-VI   16-11-13   $    414.52    2019-06-10
252 856 EX-VI   16-11-14   $   1,512.22   2019-06-10
253 857 EX-VI   16-11-15   $     25.28    2019-06-10
254 858 EX-VI   16-11-17   $   2,349.46   2019-06-10
255 859 EX-VI   16-11-22   $     33.01    2019-06-10
256 860 EX-VI   16-11-23   $    140.93    2019-06-10
257 861 EX-VI   16-11-24   $     49.17    2019-06-10
258 862 EX-VI   16-11-25   $    990.88    2019-06-10
259 863 EX-VI   16-11-26   $    883.85    2019-06-10
260 864 EX-VI   16-11-27   $    739.24    2019-06-10
261 865 EX-VI   16-11-28   $     88.83    2019-06-10
262 843 EX-VI   16-12-01   $    144.43    2019-06-10 Composite Ex. 10
263 843 EX-VI   16-12-05   $    131.44    2019-06-10
264 843 EX-VI   16-12-06   $     41.52    2019-06-10
265 843 EX-VI   16-12-07   $   1,182.10   2019-06-10
266 843 EX-VI   16-12-08   $    515.68    2019-06-10
267 843 EX-VI   16-12-09   $    630.27    2019-06-10
268 843 EX-VI   16-12-11   $   2,303.50   2019-06-10
269 843 EX-VI   16-12-12   $     14.48    2019-06-10
270 843 EX-VI   16-12-13   $    264.92    2019-06-10
271 843 EX-VI   16-12-14   $       8.46   2019-06-10
272 843 EX-VI   16-12-15   $    492.45    2019-06-10
273 843 EX-VI   16-12-16   $    663.72    2019-06-10
274 843 EX-VI   16-12-17   $    598.55    2019-06-10
275 843 EX-VI   16-12-18   $    630.27    2019-06-10
276 843 EX-VI   16-12-20   $   1,470.70   2019-06-10
277 843 EX-VI   16-12-21   $    489.71    2019-06-10
278 843 EX-VI   16-12-22   $       4.70   2019-06-10
279 843 EX-VI   16-12-23   $     25.18    2019-06-10
280 843 EX-VI   16-12-24   $       5.17   2019-06-10
281 843 EX-VI   16-12-25   $    767.86    2019-06-10


                                     16
282 843 EX-VI   16-12-26   $   2,776.86   2019-06-10
283 843 EX-VI   16-12-27   $   2,673.00   2019-06-10
284 843 EX-VI   16-12-28   $    160.76    2019-06-10
285 843 EX-VI   16-12-29   $     30.73    2019-06-10
286 843 EX-VI   16-12-30   $     43.57    2019-06-10
287 843 EX-VI   16-21-31   $     32.76    2019-06-10
288 843 EX-VI   16-12-32   $     67.57    2019-06-10
289 843 EX-VI   16-12-33   $       2.24   2019-06-10
290 843 EX-VI   16-12-34   $    374.59    2019-06-10
291 843 EX-VI   17-01-01   $   1,987.53   2020-02-24 Composite Ex. 11
292 843 EX-VI   17-01-02   $       8.50   2020-02-24
293 843 EX-VI   17-01-03   $   1,098.73   2020-02-24
294 843 EX-VI   17-01-04   $   1,184.18   2020-02-24
295 843 EX-VI   17-01-05   $    298.65    2020-02-24
296 843 EX-VI   17-01-06   $     68.11    2020-02-24
297 843 EX-VI   17-01-07   $    650.47    2020-02-24
298 843 EX-VI   17-01-08   $       6.42   2020-02-24
299 843 EX-VI   17-01-09   $   2,310.00   2020-02-24
300 843 EX-VI   17-01-10   $    293.34    2020-02-24
301 843 EX-VI   17-01-11   $   1,169.46   2020-02-24
302 843 EX-VI   17-01-12   $    114.36    2020-02-24
303 843 EX-VI   17-01-13   $     52.52    2020-02-24
304 843 EX-VI   17-01-14   $     33.42    2020-02-24
305 843 EX-VI   17-01-15   $    189.86    2020-02-24
306 843 EX-VI   17-01-16   $    715.27    2020-02-24
307 843 EX-VI   17-01-17   $    789.67    2020-02-24
308 843 EX-VI   17-01-18   $   1,477.32   2020-02-24
309 843 EX-VI   17-01-19   $   1,319.27   2020-02-24
310 843 EX-VI   17-01-20   $   7,359.64   2020-02-24
311 843 EX-VI   17-01-21   $     23.76    2020-02-24
312 843 EX-VI   17-01-22   $    341.04    2020-02-24
313 843 EX-VI   17-01-23   $     30.28    2020-02-24
314 843 EX-VI   17-01-24   $     35.71    2020-02-24
315 843 EX-VI   17-01-25   $     91.31    2020-02-24
316 843 EX-VI   17-01-26   $    316.33    2020-02-24
317 843 EX-VI   17-01-27   $    314.74    2020-02-24
318 843 EX-VI   17-01-28   $    482.00    2020-02-24
319 843 EX-VI   17-01-29   $    891.69    2020-02-24
320 843 EX-VI   17-01-30   $    962.36    2020-02-24


                                     17
321 843 EX-VI   17-01-31   $   1,187.20   2020-02-24
322 843 EX-VI   17-01-32   $     56.60    2020-02-24
323 843 EX-VI   17-01-33   $    130.69    2020-02-24
324 843 EX-VI   17-01-34   $    291.34    2020-02-24
325 843 EX-VI   17-01-35   $     54.04    2020-02-24
326 843 EX-VI   17-01-36   $     47.41    2020-02-24
327 843 EX-VI   17-01-37   $    134.06    2020-02-24
328 843 EX-VI   17-01-38   $     10.90    2020-02-24
329 843 EX-VI   17-01-39   $    384.57    2020-02-24
330 843 EX-VI   17-01-40   $     30.87    2020-02-24
331 843 EX-VI   17-01-41   $     88.03    2020-02-24
332 843 EX-VI   17-01-42   $    971.96    2020-02-24
333 843 EX-VI   17-01-43   $    680.40    2020-02-24
334 843 EX-VI   17-01-44   $    812.37    2020-02-24
335 843 EX-VI   17-01-45   $    185.45    2020-02-24
336 843 EX-VI   17-01-46   $       8.41   2020-02-24
337 843 EX-VI   17-01-47   $    427.01    2020-02-24
338 843 EX-VI   17-01-48   $    156.40    2020-02-24
339 843 EX-VI   17-01-49   $     92.02    2020-02-24
340 843 EX-VI   17-01-50   $       8.79   2020-02-24
341 843 EX-VI   17-01-51   $     12.53    2020-02-24
342 843 EX-VI   17-01-52   $    686.38    2020-02-24
343 843 EX-VI   17-02-01   $     13.65    2020-02-24 Composite Ex. 12
344 843 EX-VI   17-02-02   $     25.28    2020-02-24
345 843 EX-VI   17-02-03   $    295.04    2020-02-24
346 843 EX-VI   17-02-04   $     10.90    2020-02-24
347 843 EX-VI   17-02-05   $    443.94    2020-02-24
348 843 EX-VI   17-02-06   $    690.92    2020-02-24
349 843 EX-VI   17-02-07   $   1,051.22   2020-02-24
350 843 EX-VI   17-02-08   $    531.06    2020-02-24
351 843 EX-VI   17-02-09   $    141.55    2020-02-24
352 843 EX-VI   17-02-10   $    561.35    2020-02-24
353 843 EX-VI   17-02-11   $    260.21    2020-02-24
354 843 EX-VI   17-02-12   $     36.12    2020-02-24
355 843 EX-VI   17-02-13   $    288.82    2020-02-24
356 843 EX-VI   17-02-14   $    144.10    2020-02-24
357 843 EX-VI   17-02-15   $       9.45   2020-02-24
358 843 EX-VI   17-02-16   $   1,122.18   2020-02-24
359 843 EX-VI   17-02-17   $    771.35    2020-02-24


                                     18
360 843 EX-VI   17-02-18   $    725.87    2020-02-24
361 843 EX-VI   17-02-19   $    124.98    2020-02-24
362 843 EX-VI   17-02-20   $    294.91    2020-02-24
363 843 EX-VI   17-03-01   $    284.81    2020-02-24 Composite Ex. 13
364 843 EX-VI   17-03-02   $     98.34    2020-02-24
365 843 EX-VI   17-03-03   $       2.24   2020-02-24
366 843 EX-VI   17-03-04   $     58.13    2020-02-24
367 843 EX-VI   17-03-05   $    351.47    2020-02-24
368 843 EX-VI   17-03-06   $     95.39    2020-02-24
369 843 EX-VI   17-03-07   $   1,142.70   2020-02-24
370 843 EX-VI   17-03-08   $   1,196.28   2020-02-24
371 843 EX-VI   17-03-09   $    887.99    2020-02-24
372 843 EX-VI   17-03-10   $   2,400.54   2020-02-24
373 843 EX-VI   17-03-11   $    111.12    2020-02-24
374 843 EX-VI   17-03-12   $    102.06    2020-02-24
375 843 EX-VI   17-03-13   $     26.60    2020-02-24
376 843 EX-VI   17-03-14   $    617.60    2020-02-24
377 843 EX-VI   17-03-15   $       5.26   2020-02-24
378 843 EX-VI   17-03-16   $     33.89    2020-02-24
379 843 EX-VI   17-03-17   $    220.47    2020-02-24
380 843 EX-VI   17-03-18   $    996.78    2020-02-24
381 843 EX-VI   17-03-19   $     67.57    2020-02-24
382 843 EX-VI   17-03-20   $     47.65    2020-02-24
383 843 EX-VI   17-03-21   $       0.98   2020-02-24
384 843 EX-VI   17-03-22   $    175.12    2020-02-24
385 843 EX-VI   17-03-23   $     24.87    2020-02-24
386 843 EX-VI   17-03-24   $     46.64    2020-02-24
387 843 EX-VI   17-03-25   $     42.33    2020-02-24
388 843 EX-VI   17-03-26   $    608.58    2020-02-24
389 843 EX-VI   17-03-27   $    903.70    2020-02-24
390 843 EX-VI   17-03-28   $    178.43    2020-02-24
391 843 EX-VI   17-03-29   $     95.13    2020-02-24
392 843 EX-VI   17-03-30   $    205.70    2020-02-24
393 843 EX-VI   17-03-31   $       7.50   2020-02-24
394 843 EX-VI   17-03-32   $    281.03    2020-02-24
395 843 EX-VI   17-03-33   $    280.69    2020-02-24
396 843 EX-VI   17-03-34   $    980.38    2020-02-24
397 843 EX-VI   17-03-35   $    680.40    2020-02-24
398 843 EX-VI   17-03-36   $    680.40    2020-02-24


                                     19
399 843 EX-VI   17-03-37   $    313.10    2020-02-24
400 843 EX-VI   17-03-38   $    224.14    2020-02-24
401 843 EX-VI   17-03-39   $    444.58    2020-02-24
402 843 EX-VI   17-03-40   $       9.26   2020-02-24
403 843 EX-VI   17-03-41   $     24.09    2020-02-24
404 843 EX-VI   17-03-42   $    108.97    2020-02-24
405 843 EX-VI   17-03-43   $    205.70    2020-02-24
406 843 EX-VI   17-03-44   $     10.26    2020-02-24
407 843 EX-VI   17-03-45   $     10.95    2020-02-24
408 843 EX-VI   17-03-46   $     10.82    2020-02-24
409 843 EX-VI   17-03-47   $     18.06    2020-02-24
410 843 EX-VI   17-03-48   $    190.65    2020-02-24
411 843 EX-VI   17-03-49   $    919.49    2020-02-24
412 843 EX-VI   17-03-50   $    615.20    2020-02-24
413 843 EX-VI   17-04-01   $     75.45    2020-02-24 Composite Ex. 14
414 843 EX-VI   17-04-02   $    420.44    2020-02-24
415 843 EX-VI   17-04-03   $    212.01    2020-02-24
416 843 EX-VI   17-04-04   $   2,787.11   2020-02-24
417 843 EX-VI   17-04-05   $     37.92    2020-02-24
418 843 EX-VI   17-04-06   $    633.86    2020-02-24
419 843 EX-VI   17-04-07   $    263.33    2020-02-24
420 843 EX-VI   17-04-08   $       9.26   2020-02-24
421 843 EX-VI   17-04-09   $     50.38    2020-02-24
422 843 EX-VI   17-04-10   $    835.95    2020-02-24
423 843 EX-VI   17-04-11   $     85.36    2020-02-24
424 843 EX-VI   17-04-12   $    272.63    2020-02-24
425 843 EX-VI   17-04-13   $     12.46    2020-02-24
426 843 EX-VI   17-04-14   $    287.79    2020-02-24
427 843 EX-VI   17-04-15   $    337.13    2020-02-24
428 843 EX-VI   17-04-16   $       1.75   2020-02-24
429 843 EX-VI   17-04-17   $     58.11    2020-02-24
430 843 EX-VI   17-04-18   $   1,128.42   2020-02-24
431 843 EX-VI   17-04-19   $   1,479.93   2020-02-24
432 843 EX-VI   17-04-20   $     36.20    2020-02-24
433 843 EX-VI   17-04-21   $   1,037.76   2020-02-24
434 843 EX-VI   17-04-22   $    311.04    2020-02-24
435 843 EX-VI   17-04-23   $     35.58    2020-02-24
436 843 EX-VI   17-04-24   $    448.20    2020-02-24
437 843 EX-VI   17-04-25   $    110.43    2020-02-24


                                     20
438 843 EX-VI   17-04-26   $    186.58    2020-02-24
439 843 EX-VI   17-04-27   $    449.24    2020-02-24
440 843 EX-VI   17-04-28   $    270.94    2020-02-24
441 843 EX-VI   17-04-29   $     23.06    2020-02-24
442 843 EX-VI   17-04-30   $    453.49    2020-02-24
443 843 EX-VI   17-04-31   $   1,326.75   2020-02-24
444 843 EX-VI   17-04-32   $    701.02    2020-02-24
445 843 EX-VI   17-04-33   $     69.34    2020-02-24
446 843 EX-VI   17-04-34   $    432.22    2020-02-24
447 843 EX-VI   17-04-35   $    923.38    2020-02-24
448 843 EX-VI   17-04-36   $    150.77    2020-02-24
449 843 EX-VI   17-04-37   $    213.73    2020-02-24
450 843 EX-VI   17-04-38   $       7.19   2020-02-24
451 843 EX-VI   17-04-39   $     10.04    2020-02-24
452 843 EX-VI   17-04-40   $   1,072.53   2020-02-24
453 843 EX-VI   17-05-01   $     74.93    2020-02-24 Composite Ex. 15
454 843 EX-VI   17-05-02   $    149.35    2020-02-24
455 843 EX-VI   17-05-03   $    576.10    2020-02-24
456 843 EX-VI   17-05-04   $    811.62    2020-02-24
457 843 EX-VI   17-05-05   $   1,220.18   2020-02-24
458 843 EX-VI   17-05-06   $    418.52    2020-02-24
459 843 EX-VI   17-05-07   $   1,302.05   2020-02-24
460 843 EX-VI   17-05-08   $    695.76    2020-02-24
461 843 EX-VI   17-05-09   $   1,041.31   2020-02-24
462 843 EX-VI   17-05-10   $    604.36    2020-02-24
463 843 EX-VI   17-05-11   $    248.83    2020-02-24
464 843 EX-VI   17-05-12   $    215.78    2020-02-24
465 843 EX-VI   17-05-13   $     10.52    2020-02-24
466 843 EX-VI   17-05-14   $    836.28    2020-02-24
467 843 EX-VI   17-05-15   $   1,308.63   2020-02-24
468 843 EX-VI   17-05-16   $    885.46    2020-02-24
469 843 EX-VI   17-05-17   $     62.12    2020-02-24
470 843 EX-VI   17-05-18   $    478.34    2020-02-24
471 843 EX-VI   17-05-19   $       8.51   2020-02-24
472 843 EX-VI   17-05-20   $     11.45    2020-02-24
473 843 EX-VI   17-05-21   $    332.62    2020-02-24
474 843 EX-VI   17-05-22   $     18.26    2020-02-24
475 843 EX-VI   17-05-23   $       9.91   2020-02-24
476 843 EX-VI   17-05-24   $     10.27    2020-02-24


                                     21
477 843 EX-VI   17-06-01   $    324.45    2020-02-24 Composite Ex. 16
478 843 EX-VI   17-06-02   $    354.29    2020-02-24
479 843 EX-VI   17-06-03   $       2.24   2020-02-24
480 843 EX-VI   17-06-04   $     54.92    2020-02-24
481 843 EX-VI   17-06-05   $    749.26    2020-02-24
482 843 EX-VI   17-06-06   $     41.89    2020-02-24
483 843 EX-VI   17-06-07   $   1,571.39   2020-02-24
484 843 EX-VI   17-06-08   $   1,229.63   2020-02-24
485 843 EX-VI   17-06-09   $   1,073.59   2020-02-24
486 843 EX-VI   17-06-10   $    391.76    2020-02-24
487 843 EX-VI   17-06-11   $     21.66    2020-02-24
488 843 EX-VI   17-06-12   $     65.31    2020-02-24
489 843 EX-VI   17-06-13   $     18.94    2020-02-24
490 843 EX-VI   17-06-14   $    123.48    2020-02-24
491 843 EX-VI   17-06-15   $     67.92    2020-02-24
492 843 EX-VI   17-06-16   $    105.42    2020-02-24
493 843 EX-VI   17-06-17   $    299.17    2020-02-24
494 843 EX-VI   17-06-18   $    145.32    2020-02-24
495 843 EX-VI   17-06-19   $    104.79    2020-02-24
496 843 EX-VI   17-06-20   $     58.65    2020-02-24
497 843 EX-VI   17-06-21   $     25.77    2020-02-24
498 843 EX-VI   17-06-22   $     37.92    2020-02-24
499 843 EX-VI   17-06-23   $    846.32    2020-02-24
500 843 EX-VI   17-06-24   $    983.31    2020-02-24
501 843 EX-VI   17-06-25   $     15.12    2020-02-24
502 843 EX-VI   17-06-26   $    398.22    2020-02-24
503 843 EX-VI   17-06-27   $    478.01    2020-02-24
504 843 EX-VI   17-06-28   $     10.36    2020-02-24
505 843 EX-VI   17-06-29   $    172.13    2020-02-24
506 843 EX-VI   17-06-30   $     20.81    2020-02-24
507 843 EX-VI   17-06-31   $     27.94    2020-02-24
508 843 EX-VI   17-06-32   $    420.15    2020-02-24
509 843 EX-VI   17-06-33   $       2.24   2020-02-24
510 843 EX-VI   17-06-34   $    719.55    2020-02-24
511 843 EX-VI   17-06-35   $    147.38    2020-02-24
512 843 EX-VI   17-06-36   $   1,168.63   2020-02-24
513 843 EX-VI   17-06-37   $    710.21    2020-02-24
514 843 EX-VI   17-06-38   $    896.90    2020-02-24
515 843 EX-VI   17-06-39   $    738.55    2020-02-24


                                     22
516 843 EX-VI   17-06-40   $    707.84    2020-02-24
517 843 EX-VI   17-06-41   $       9.91   2020-02-24
518 843 EX-VI   17-06-42   $       9.91   2020-02-24
519 843 EX-VI   17-07-01   $    973.60    2020-02-24 Composite Ex. 17
520 843 EX-VI   17-07-02   $    274.91    2020-02-24
521 843 EX-VI   17-07-03   $   1,588.52   2020-02-24
522 843 EX-VI   17-07-04   $   1,295.37   2020-02-24
523 843 EX-VI   17-07-05   $    134.33    2020-02-24
524 843 EX-VI   17-07-06   $    280.08    2020-02-24
525 843 EX-VI   17-07-07   $    444.36    2020-02-24
526 843 EX-VI   17-07-08   $   1,020.96   2020-02-24
527 843 EX-VI   17-07-09   $    728.38    2020-02-24
528 843 EX-VI   17-07-10   $     57.36    2020-02-24
529 843 EX-VI   17-07-11   $    637.86    2020-02-24
530 843 EX-VI   17-07-12   $    536.92    2020-02-24
531 843 EX-VI   17-07-13   $   1,057.53   2020-02-24
532 843 EX-VI   17-07-14   $   1,914.06   2020-02-24
533 843 EX-VI   17-07-15   $     12.84    2020-02-24
534 843 EX-VI   17-07-16   $     61.61    2020-02-24
535 843 EX-VI   17-07-17   $    142.63    2020-02-24
536 843 EX-VI   17-07-18   $     28.36    2020-02-24
537 843 EX-VI   17-07-19   $    342.95    2020-02-24
538 843 EX-VI   17-07-20   $   3,298.47   2020-02-24
539 843 EX-VI   17-07-21   $   5,764.04   2020-02-24
540 843 EX-VI   17-07-22   $       7.79   2020-02-24
541 843 EX-VI   17-07-23   $   1,692.13   2020-02-24
542 843 EX-VI   17-07-24   $   3,298.47   2020-02-24
543 843 EX-VI   17-07-25   $   5,764.04   2020-02-24
544 843 EX-VI   17-07-26   $   1,692.13   2020-02-24
545 843 EX-VI   17-07-27   $    536.57    2020-02-24
546 843 EX-VI   17-07-28   $     37.92    2020-02-24
547 843 EX-VI   17-07-29   $   2,673.69   2020-02-24
548 843 EX-VI   17-07-30   $    515.68    2020-02-24
549 843 EX-VI   17-07-31   $   1,182.10   2020-02-24
550 843 EX-VI   17-07-32   $   2,142.38   2020-02-24
551 843 EX-VI   17-07-33   $    796.92    2020-02-24
552 843 EX-VI   17-07-34   $    368.15    2020-02-24
553 843 EX-VI   17-07-35   $    171.33    2020-02-24
554 843 EX-VI   17-07-36   $    123.15    2020-02-24


                                     23
555 843 EX-VI   17-07-37   $    630.27    2020-02-24
556 843 EX-VI   17-07-38   $     15.12    2020-02-24
557 843 EX-VI   17-07-39   $   1,204.38   2020-02-24
558 843 EX-VI   17-07-40   $    104.42    2020-02-24
559 843 EX-VI   17-07-41   $     81.90    2020-02-24
560 843 EX-VI   17-07-42   $     27.33    2020-02-24
561 843 EX-VI   17-08-01   $    601.11    2020-02-24 Composite Ex. 18
562 843 EX-VI   17-08-02   $     12.37    2020-02-24
563 843 EX-VI   17-08-03   $     91.72    2020-02-24
564 843 EX-VI   17-08-04   $     76.93    2020-02-24
565 843 EX-VI   17-08-05   $     93.91    2020-02-24
566 843 EX-VI   17-08-06   $    465.76    2020-02-24
567 843 EX-VI   17-08-07   $     64.75    2020-02-24
568 843 EX-VI   17-08-08   $    189.10    2020-02-24
569 843 EX-VI   17-08-09   $    576.86    2020-02-24
570 843 EX-VI   17-08-10   $    722.53    2020-02-24
571 843 EX-VI   17-08-11   $     37.56    2020-02-24
572 843 EX-VI   17-08-12   $    422.21    2020-02-24
573 843 EX-VI   17-08-13   $   1,113.73   2020-02-24
574 843 EX-VI   17-08-14   $    727.58    2020-02-24
575 843 EX-VI   17-08-15   $     32.50    2020-02-24
576 843 EX-VI   17-08-16   $    502.35    2020-02-24
577 843 EX-VI   17-08-17   $    220.87    2020-02-24
578 843 EX-VI   17-08-18   $   5,712.00   2020-02-24
579 843 EX-VI   17-08-19   $   1,342.28   2020-02-24
580 843 EX-VI   17-08-20   $   1,784.31   2020-02-24
581 843 EX-VI   17-08-21   $    608.62    2020-02-24
582 843 EX-VI   17-08-22   $       3.17   2020-02-24
583 843 EX-VI   17-08-23   $    489.50    2020-02-24
584 843 EX-VI   17-08-24   $   1,096.17   2020-02-24
585 843 EX-VI   17-08-25   $    306.52    2020-02-24
586 843 EX-VI   17-08-26   $     94.00    2020-02-24
587 843 EX-VI   17-08-27   $    451.32    2020-02-24
588 843 EX-VI   17-08-28   $    170.06    2020-02-24
589 843 EX-VI   17-08-29   $       7.61   2020-02-24
590 843 EX-VI   17-08-30   $    418.31    2020-02-24
591 843 EX-VI   17-08-31   $    117.22    2020-02-24
592 843 EX-VI   17-09-01   $     63.25    2020-02-24 Composite Ex. 19
593 843 EX-VI   17-09-02   $       2.35   2020-02-24


                                     24
594 843 EX-VI   17-09-03   $    490.12    2020-02-24
595 843 EX-VI   17-10-01   $   1,780.05   2020-02-24 Composite Ex. 20
596 843 EX-VI   17-10-02   $    823.78    2020-02-24
597 843 EX-VI   17-10-03   $   1,696.60   2020-02-24
598 843 EX-VI   17-10-04   $   1,791.32   2020-02-24
599 843 EX-VI   17-10-05   $    220.27    2020-02-24
600 843 EX-VI   17-10-06   $    639.74    2020-02-24
601 843 EX-VI   17-11-01   $     56.57    2020-02-24 Composite Ex. 21
602 843 EX-VI   17-11-02   $    370.30    2020-02-24
603 843 EX-VI   17-11-03   $   1,256.07   2020-02-24
604 843 EX-VI   17-11-04   $    154.36    2020-02-24
605 843 EX-VI   17-11-05   $   2,215.20   2020-02-24
606 843 EX-VI   17-11-06   $    642.66    2020-02-24
607 843 EX-VI   17-11-07   $    787.00    2020-02-24
608 843 EX-VI   17-11-08   $    776.82    2020-02-24
609 843 EX-VI   17-11-09   $    110.65    2020-02-24
610 843 EX-VI   17-11-11   $    336.16    2020-02-24
611 843 EX-VI   17-11-12   $    838.14    2020-02-24
612 843 EX-VI   17-11-13   $    465.33    2020-02-24
613 843 EX-VI   17-11-14   $    764.44    2020-02-24
614 843 EX-VI   17-11-15   $       8.71   2020-02-24
615 843 EX-VI   17-11-16   $   1,150.52   2020-02-24
616 843 EX-VI   17-11-17   $   1,267.13   2020-02-24
617 843 EX-VI   17-11-18   $    608.48    2020-02-24
618 843 EX-VI   17-11-19   $   2,079.25   2020-02-24
619 843 EX-VI   17-12-01   $   4,830.00   2020-02-24 Composite Ex. 22
620 843 EX-VI   17-12-02   $   1,474.57   2020-02-24
621 843 EX-VI   17-12-03   $    396.44    2020-02-24
622 843 EX-VI   17-12-04   $    886.58    2020-02-24
623 843 EX-VI   17-12-05   $    682.21    2020-02-24
624 843 EX-VI   17-12-06   $    438.89    2020-02-24
625 843 EX-VI   17-12-07   $    469.24    2020-02-24
626 843 EX-VI   17-12-08   $   1,752.74   2020-02-24
627 843 EX-VI   17-12-09   $   1,083.64   2020-02-24
628 843 EX-VI   17-12-10   $    819.93    2020-02-24
629 843 EX-VI   17-12-11   $    117.84    2020-02-24
630 843 EX-VI   17-12-12   $   1,059.19   2020-02-24
631 843 EX-VI   17-12-13   $       5.56   2020-02-24
632 843 EX-VI   17-12-14   $   2,096.93   2020-02-24


                                     25
633 843 EX-VI   17-12-15   $     14.28    2020-02-24
634 843 EX-VI   17-12-16   $   1,035.34   2020-02-24
635 843 EX-VI   17-12-17   $    190.99    2020-02-24
636 843 EX-VI   17-12-18   $   1,288.78   2020-02-24
637 843 EX-VI   17-12-19   $    316.77    2020-02-24
638 843 EX-VI   17-12-20   $     23.38    2020-02-24
639 843 EX-VI   17-12-21   $    264.03    2020-02-24
640 843 EX-VI   17-12-22   $    726.16    2020-02-24
641 843 EX-VI   17-12-23   $    379.70    2020-02-24
642 843 EX-VI   17-12-24   $    638.55    2020-02-24
643 843 EX-VI   17-12-25   $    555.24    2020-02-24
644 843 EX-VI   17-12-26   $   1,651.09   2020-02-24
645 843 EX-VI   17-12-27   $    815.33    2020-02-24
646 843 EX-VI   17-12-28   $   2,130.67   2020-02-24
647 843 EX-VI   17-12-29   $    120.13    2020-02-24
648 843 EX-VI   17-12-30   $     26.93    2020-02-24
649 843 EX-VI   17-12-31   $   1,807.84   2020-02-24
650 843 EX-VI   17-12-32   $   1,335.60   2020-02-24
651 843 EX-VI   17-12-33   $    266.19    2020-02-24
652 843 EX-VI   17-12-34   $     61.79    2020-02-24
653 843 EX-VI   17-12-35   $    786.66    2020-02-24
654 843 EX-VI   17-12-36   $    260.40    2020-02-24
655 843 EX-VI   18-01-01   $    410.91    2020-11-05 Composite Ex. 23
656 843 EX-VI   18-01-02   $   1,792.26   2020-11-05
657 843 EX-VI   18-01-04   $     52.28    2020-11-05
658 843 EX-VI   18-01-10   $     15.93    2020-11-05
659 843 EX-VI   18-01-11   $     56.66    2020-11-05
660 843 EX-VI   18-01-12   $    351.91    2020-11-05
661 843 EX-VI   18-01-13   $    812.41    2020-11-05
662 843 EX-VI   18-01-14   $   2,823.66   2020-11-05
663 843 EX-VI   18-01-15   $     64.94    2020-11-05
664 843 EX-VI   18-01-18   $    829.17    2020-11-05
665 843 EX-VI   18-01-19   $     82.47    2020-11-05
666 843 EX-VI   18-10-20   $     85.43    2020-11-05
667 843 EX-VI   18-01-21   $    470.44    2020-11-05
668 843 EX-VI   18-01-22   $     12.56    2020-11-05
669 843 EX-VI   18-01-23   $    826.08    2020-11-05
670 843 EX-VI   18-01-24   $   7,729.38   2020-11-05
671 843 EX-VI   18-01-25   $    918.61    2020-11-05


                                     26
672 843 EX-VI   18-02-01   $    609.56    2020-11-05 Ex. 24
673 843 EX-VI   18-05-01   $    869.98    2020-11-05 Composite Ex. 25
674 843 EX-VI   18-05-02   $     17.15    2020-11-05
675 843 EX-VI   18-05-03   $     94.98    2020-11-05
676 843 EX-VI   18-05-04   $    273.94    2020-11-05
677 843 EX-VI   18-05-05   $    720.66    2020-11-05
678 843 EX-VI   18-05-06   $   2,143.33   2020-11-05
679 843 EX-VI   18-05-07   $     33.83    2020-11-05
680 843 EX-VI   18-05-08   $    631.27    2020-11-05
681 843 EX-VI   18-05-09   $    167.25    2020-11-05
682 843 EX-VI   18-05-10   $    639.65    2020-11-05
683 843 EX-VI   18-05-11   $    815.10    2020-11-05
684 843 EX-VI   18-05-14   $     65.34    2020-11-05
685 843 EX-VI   18-05-15   $     89.12    2020-11-05
686 843 EX-VI   18-05-16   $    364.97    2020-11-05
687 843 EX-VI   18-05-17   $    113.96    2020-11-05
688 843 EX-VI   18-05-18   $    118.08    2020-11-05
689 843 EX-VI   18-05-19   $     82.58    2020-11-05
690 843 EX-VI   18-05-20   $    721.24    2020-11-05
691 843 EX-VI   18-05-21   $   1,372.82   2020-11-05
692 843 EX-VI   18-05-22   $    335.16    2020-11-05
693 843 EX-VI   18-05-23   $     80.78    2020-11-05
694 843 EX-VI   18-05-24   $   2,097.28   2020-11-05
695 843 EX-VI   18-05-25   $    838.13    2020-11-05
696 843 EX-VI   18-05-28   $   1,388.34   2020-11-05
697 843 EX-VI   18-05-29   $     55.44    2020-11-05
698 843 EX-VI   18-05-30   $    576.81    2020-11-05
699 843 EX-VI   18-05-31   $    910.82    2020-11-05
700 843 EX-VI   18-05-32   $    529.53    2020-11-05
701 843 EX-VI   18-05-33   $     58.55    2020-11-05
702 843 EX-VI   18-05-38   $    770.54    2020-11-05
703 843 EX-VI   18-05-39   $    870.85    2020-11-05
704 843 EX-VI   18-05-40   $    211.20    2020-11-05
705 843 EX-VI   18-05-41   $     92.13    2020-11-05
706 843 EX-VI   18-05-42   $     96.43    2020-11-05
707 843 EX-VI   18-05-43   $    992.15    2020-11-05
708 843 EX-VI   18-05-46   $     85.35    2020-11-05
709 843 EX-VI   18-05-47   $     49.79    2020-11-05
710 843 EX-VI   18-05-49   $     35.03    2020-11-05


                                     27
711 843 EX-VI   18-05-51   $     43.80    2020-11-05
712 843 EX-VI   18-05-54   $     16.34    2020-11-05
713 843 EX-VI   18-05-55   $     65.24    2020-11-05
714 843 EX-VI   18-05-56   $    324.18    2020-11-05
715 843 EX-VI   18-05-57   $    150.14    2020-11-05
716 843 EX-VI   18-05-58   $   2,360.68   2020-11-05
717 843 EX-VI   18-05-59   $   2,574.87   2020-11-05
718 843 EX-VI   18-05-60   $   2,297.33   2020-11-05
719 843 EX-VI   18-05-62   $     33.83    2020-11-05
720 843 EX-VI   18-05-63   $   1,724.43   2020-11-05
721 843 EX-VI   18-05-64   $    356.83    2020-11-05
722 843 EX-VI   18-05-65   $    551.92    2020-11-05
723 843 EX-VI   18-05-66   $    839.12    2020-11-05
724 843 EX-VI   18-05-67   $   1,577.46   2020-11-05
725 843 EX-VI   18-05-68   $   1,017.95   2020-11-05
726 843 EX-VI   18-05-74   $     33.25    2020-11-05
727 843 EX-VI   18-05-75   $       6.86   2020-11-05
728 843 EX-VI   18-05-78   $    468.02    2020-11-05
729 843 EX-VI   18-05-79   $     56.66    2020-11-05
730 843 EX-VI   18-05-80   $     64.62    2020-11-05
731 843 EX-VI   18-05-81   $    334.07    2020-11-05
732 843 EX-VI   18-05-82   $    633.21    2020-11-05
733 843 EX-VI   18-05-83   $    720.48    2020-11-05
734 843 EX-VI   18-05-84   $   2,005.57   2020-11-05
735 843 EX-VI   18-05-85   $     69.83    2020-11-05
736 843 EX-VI   18-06-01   $    379.33    2020-11-05 Composite Ex. 26
737 843 EX-VI   18-06-02   $    224.78    2020-11-05
738 843 EX-VI   18-06-03   $     65.27    2020-11-05
739 843 EX-VI   18-06-04   $    781.90    2020-11-05
740 843 EX-VI   18-06-05   $    848.22    2020-11-05
741 843 EX-VI   18-06-06   $   1,368.70   2020-11-05
742 843 EX-VI   18-06-07   $   1,984.85   2020-11-05
743 843 EX-VI   18-06-09   $   1,264.95   2020-11-05
744 843 EX-VI   18-06-11   $    998.91    2020-11-05
745 843 EX-VI   18-06-12   $     46.03    2020-11-05
746 843 EX-VI   18-06-14   $     98.40    2020-11-05
747 843 EX-VI   18-06-15   $     64.08    2020-11-05
748 843 EX-VI   18-06-16   $    349.52    2020-11-05
749 843 EX-VI   18-06-17   $    148.44    2020-11-05


                                     28
750 843 EX-VI   18-06-18   $     51.19    2020-11-05
751 843 EX-VI   18-06-20   $    356.85    2020-11-05
752 843 EX-VI   18-06-23   $   1,035.02   2020-11-05
753 843 EX-VI   18-06-24   $    962.54    2020-11-05
754 843 EX-VI   18-06-25   $   1,333.52   2020-11-05
755 843 EX-VI   18-06-26   $    293.26    2020-11-05
756 843 EX-VI   18-06-27   $     25.92    2020-11-05
757 843 EX-VI   18-06-33   $   1,396.80   2020-11-05
758 843 EX-VI   18-06-34   $     33.83    2020-11-05
759 843 EX-VI   18-06-36   $    471.44    2020-11-05
760 843 EX-VI   18-06-37   $     65.78    2020-11-05
761 843 EX-VI   18-06-38   $       5.02   2020-11-05
762 843 EX-VI   18-06-39   $    667.95    2020-11-05
763 843 EX-VI   18-07-01   $    166.21    2020-02-24 Composite Ex. 27
764 843 EX-VI   18-07-02   $    312.14    2020-02-24
765 843 EX-VI   18-07-03   $     29.63    2020-02-24
766 843 EX-VI   18-07-04   $     89.72    2020-02-24
767 843 EX-VI   18-07-05   $   1,123.88   2020-02-24
768 843 EX-VI   18-07-06   $    500.88    2020-02-24
769 843 EX-VI   18-07-07   $    753.70    2020-02-24
770 843 EX-VI   18-07-08   $    680.13    2020-02-24
771 843 EX-VI   18-07-09   $    695.35    2020-02-24
772 843 EX-VI   18-07-10   $     69.37    2020-02-24
773 843 EX-VI   18-07-11   $     77.10    2020-02-24
774 843 EX-VI   18-07-12   $     22.61    2020-02-24
775 843 EX-VI   18-07-13   $    326.92    2020-02-24
776 843 EX-VI   18-07-14   $    426.36    2020-02-24
777 843 EX-VI   18-07-15   $     45.02    2020-02-24
778 843 EX-VI   18-07-16   $    290.94    2020-02-24
779 843 EX-VI   18-07-17   $    651.75    2020-02-24
780 843 EX-VI   18-07-18   $    270.18    2020-02-24
781 843 EX-VI   18-07-19   $     53.66    2020-02-24
782 843 EX-VI   18-07-20   $    104.79    2020-02-24
783 843 EX-VI   18-07-21   $   1,272.98   2020-02-24
784 843 EX-VI   18-07-22   $   1,024.83   2020-02-24
785 843 EX-VI   18-07-23   $   1,628.60   2020-02-24
786 843 EX-VI   18-07-24   $    160.99    2020-02-24
787 843 EX-VI   18-08-01   $   2,105.81   2020-02-24 Composite Ex. 28
788 843 EX-VI   18-08-02   $   1,723.56   2020-02-24


                                     29
789 843 EX-VI   18-08-03   $     96.73    2020-02-24
790 843 EX-VI   18-08-04   $    873.31    2020-02-24
791 843 EX-VI   18-05-05   $     90.09    2020-02-24
792 843 EX-VI   18-08-06   $    786.27    2020-02-24
793 843 EX-VI   18-08-07   $   1,057.03   2020-02-24
794 843 EX-VI   18-08-08   $    205.92    2020-02-24
795 843 EX-VI   18-08-09   $   1,791.09   2020-02-24
796 843 EX-VI   18-08-10   $    323.52    2020-02-24
797 843 EX-VI   18-08-11   $    307.27    2020-02-24
798 843 EX-VI   18-08-12   $   1,648.56   2020-02-24
799 843 EX-VI   18-08-13   $    109.59    2020-02-24
800 843 EX-VI   18-08-14   $   3,185.60   2020-02-24
801 843 EX-VI   18-08-15   $     62.65    2020-02-24
802 843 EX-VI   18-08-16   $    160.84    2020-02-24
803 843 EX-VI   18-08-17   $    301.89    2020-02-24
804 843 EX-VI   18-08-18   $    335.06    2020-02-24
805 843 EX-VI   18-08-19   $    333.87    2020-02-24
806 843 EX-VI   18-08-20   $   1,007.17   2020-02-24
807 843 EX-VI   18-08-21   $    716.58    2020-02-24
808 843 EX-VI   18-08-22   $   1,271.07   2020-02-24
809 843 EX-VI   18-08-23   $    313.27    2020-02-24
810 843 EX-VI   18-08-24   $     84.82    2020-02-24
811 843 EX-VI   18-08-25   $    379.95    2020-02-24
812 843 EX-VI   18-08-26   $    391.84    2020-02-24
813 843 EX-VI   18-08-27   $     26.16    2020-02-24
814 843 EX-VI   18-08-28   $   1,108.73   2020-02-24
815 844 EX-VI   18-08-29   $     34.83    2020-02-24
816 845 EX-VI   18-08-30   $    986.83    2020-02-24
817 846 EX-VI   18-08-31   $       6.74   2020-02-24
818 847 EX-VI   18-08-32   $     68.04    2020-02-24
819 848 EX-VI   18-08-33   $     74.18    2020-02-24
820 849 EX-VI   18-08-34   $   1,015.46   2020-02-24
821 843 EX-VI   18-09-01   $    925.20    2020-02-24 Composite Ex. 29
822 843 EX-VI   18-09-02   $    730.63    2020-02-24
823 843 EX-VI   18-09-03   $   1,318.03   2020-02-24
824 843 EX-VI   18-09-04   $    777.86    2020-02-24
825 843 EX-VI   18-09-05   $    796.49    2020-02-24
826 843 EX-VI   18-09-06   $   2,197.23   2020-02-24
827 843 EX-VI   18-09-07   $    607.32    2020-02-24


                                     30
828 843 EX-VI   18-09-08   $    321.68    2020-02-24
829 843 EX-VI   18-09-09   $    652.84    2020-02-24
830 843 EX-VI   18-09-10   $   1,335.48   2020-02-24
831 843 EX-VI   18-09-11   $     64.09    2020-02-24
832 843 EX-VI   18-09-12   $       9.26   2020-02-24
833 843 EX-VI   18-09-13   $   2,205.00   2020-02-24
834 843 EX-VI   18-09-14   $     40.84    2020-02-24
835 843 EX-VI   18-09-15   $     52.65    2020-02-24
836 843 EX-VI   18-09-16   $    561.03    2020-02-24
837 843 EX-VI   18-09-17   $   1,129.69   2020-02-24
838 843 EX-VI   18-09-18   $    400.77    2020-02-24
839 843 EX-VI   18-09-19   $    121.91    2020-02-24
840 843 EX-VI   18-09-20   $    815.19    2020-02-24
841 843 EX-VI   18-09-21   $    427.04    2020-02-24
842 843 EX-VI   18-09-22   $   1,071.87   2020-02-24
843 843 EX-VI   18-09-23   $    623.58    2020-02-24
844 843 EX-VI   18-09-24   $    314.77    2020-02-24
845 843 EX-VI   18-09-25   $   1,457.66   2020-02-24
846 843 EX-VI   18-09-26   $    496.91    2020-02-24
847 843 EX-VI   18-09-27   $    741.73    2020-02-24
848 843 EX-VI   18-09-28   $    427.51    2020-02-24
849 843 EX-VI   18-10-01   $    761.21    2020-02-24 Composite Ex. 30
850 843 EX-VI   18-10-02   $   3,620.20   2020-02-24
851 843 EX-VI   18-11-01   $    173.88    2020-02-24 Composite Ex. 31
852 843 EX-VI   18-11-02   $     89.66    2020-02-24
853 843 EX-VI   18-11-03   $    801.98    2020-02-24
854 843 EX-VI   18-11-04   $   1,997.91   2020-02-24
855 843 EX-VI   18-11-05   $   1,592.11   2020-02-24
856 843 EX-VI   18-11-06   $   2,671.26   2020-02-24
857 843 EX-VI   18-11-07   $    575.99    2020-02-24
858 843 EX-VI   18-11-08   $   2,864.39   2020-02-24
859 843 EX-VI   18-11-09   $    168.00    2020-02-24
860 843 EX-VI   18-11-10   $    758.51    2020-02-24
861 843 EX-VI   18-11-11   $    384.95    2020-02-24
862 843 EX-VI   18-11-12   $   1,775.59   2020-02-24
863 843 EX-VI   18-12-01   $     99.97    2020-02-24 Composite Ex. 32
864 843 EX-VI   18-12-02   $    593.98    2020-02-24




                                     31
                        total                  $ 523,554.18


                                              PRAYER FOR RELIEF

         WHEREFORE, the Plaintiff prays that this Court:

A.       Award the Plaintiff its refund of excise taxes paid for each respective count;

B.       Enter judgment against Defendant in favor of the Plaintiff;

C.       Award Plaintiff reasonable attorneys’ fees and costs of suit,

D.       Award Plaintiff pre-judgment interest at the statutory rate for each respective count;

E.       Award Plaintiff post-judgment interest at the statutory rate for each respective count; and

F.       Grant such additional and further relief as the Court deems proper and just.

Respectfully Submitted,

                                      Digitally signed by /s/ Joseph A. DiRuzzo, III
By: /s/ Joseph A. DiRuzzo, III Date: 2021.05.06 13:03:16 -04'00'
    ________________________                                                           Dated May 6, 2021
Joseph A. DiRuzzo, III
USVI Bar No. 1114
DIRUZZO & COMPANY
401 East Las Olas Blvd., Suite 1400
Ft. Lauderdale, Florida 33301
954.615.1676 (O)
954.827.0340 (F)
jd@diruzzolaw.com

-and-

MICHAEL L. SHEESLEY, P.C.

s/Michael L. Sheesley
Michael L. Sheesley
V.I. Bar #1010
P.O. Box 307728
St. Thomas, VI 00803
Telephone: (412)972-0412
michael@sheesley-law.com


                                                                 32
